                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF IOWA
                            EASTERN DIVISION



 UNITED STATES OF AMERICA,
              Plaintiff,                               No. CR 05-2018-LRR
 vs.
 MICHAEL CHANTELL BRUCE,                                      ORDER
              Defendant.
                                ____________________


       The matters before the court are Defendant Michael Chantell Bruce’s Second
Application for Investigative Costs and Costs of Expert and Transcript from CJA Funds
and Motion to Reconsider Order Denying Funds (“Motion”) (docket no. 107) and
Defendant’s Memorandum in Support of Supplemental Motion For Authorization of
Services (“Supplemental Motion”) (docket no. 119). Defendant filed the Motion on
December 23, 2005 and the Supplemental Motion on January 3, 2006. On December 27,
2005, the government filed a Response to Defendant’s Motion (docket no. 111)
       Title 18, United States Code Section 3006A, in pertinent part, provides:
             Counsel for a person who is financially unable to obtain
             investigative, expert, or other services necessary for adequate
             representation may request them in an ex parte application.
             Upon finding, after appropriate inquiry in an ex parte
             proceeding, that the services are necessary and that the person
             is financially unable to obtain them, the court, or the United
             States magistrate judge if the services are required in
             connection with a matter over which he has jurisdiction, shall
             authorize counsel to obtain the services.

18 U.S.C. § 3006A(e)(1). Defendant must meet a two-prong test before the court may



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authorize funds for an expert: (1) Defendant must “satisfy the court that financial inability
prevents him from obtaining the services he requests”; and (2) Defendant must prove a
need for the requested expert. United States v. Sailer, 552 F.2d 213, 215 (8th Cir. 1977)
(citing United States v. Schultz, 431 F.2d 907, 908 (8th Cir. 1970)). In neither the Motion
nor Supplemental Motion does Defendant provide any evidence to the court that he is
unable to pay for the requested expert investigator. Defendant failed to provide the court
with financial records or documentation in support of his claim that he is financially unable
to pay for his defense. The court noted in its December 19, 2005 order that Defendant
retained counsel. Because Defendant did not ask for appointment of counsel prior to
retaining counsel, the court never made a determination regarding Defendant’s financial
status. Consequently, nothing in the record suggests that Defendant is unable to pay for
his defense or the requested expert and investigation.
       Defendant also failed to show a need for the expert requested. Defendant claims
to need the services of an expert to conduct an investigation to locate the current names,
addresses and telephone numbers of each alibi witness. Defendant alleges the government
has requested this information and that, due to the time that has passed since the incident,
the investigator is necessary to provide the government with accurate information. In its
Response to Defendant’s Motion, however, the government states that each person listed
by Defendant as an alibi is either “(1) [a] government cooperator; (2) serving a federal
prison sentence; (3) under federal or state supervision; (4) pending federal sentence or
charges; and (5) already interviewed, testified, and otherwise disclosed in the
government’s discovery.”       The government, therefore, already has access to the
information that Defendant claims he needs the expert to investigate and turn over to the
government.



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       In United States v. Bertling, 370 F.3d 818 (8th Cir. 2004), the Eighth Circuit Court
of Appeals noted that, “although the district court must ‘make appropriate inquiry in an
ex parte proceeding’ before ruling on a § 3006A(e)(1) application,” a hearing is not
required. Upon reviewing Defendant’s Motion and Supplemental Motion requesting
payment for expert investigator fees, the court determines that Defendant fails to show that
he is financially unable to pay the expert himself and that he needs the expert to present
an adequate defense. Accordingly, Defendant’s Motion and Supplemental Motion are
denied.


       IT IS SO ORDERED.
       (1)    The court DENIES Defendant Michael Chantell Bruce’s Second Application
              for Investigative Costs and Cost of Expert and Transcript from CJA Funds
              and Motion to Reconsider Order Denying Funds (docket no. 107).
       (2)    The court DENIES Defendant Michael Chantell Bruce’s Memorandum in
              Support of Supplemental Motion for Authorization of Services (docket
              no. 119).
       (3)    The period between the filing of Defendant’s Motion and this Order is
              excluded from calculation under the Speedy Trial Act.             18 U.S.C.
              § 3161(h)(1)(F) (excluding delay resulting from the filing of any pretrial
              motion through the conclusion of the hearing thereon); 18 U.S.C.
              § 3161(h)(1)(J) (excluding “delay reasonably attributable to any period, not
              to exceed thirty days, during which any proceeding concerning the defendant
              is actually under advisement by the court”).




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  DATED this 5th day of January, 2006.




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